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                       UNITED STATES DISTRICT COURT
                            DISTRICT OF MAINE


BRITTANY IRISH, individually )
and as personal representative of
                             )
the estate of KYLE HEWITT,   )
deceased, and KIMBERLY IRISH,)
                             )
          Plaintiffs,        )
                             )
     v.                      )                 1:15-cv-00503-JAW
                             )
STATE OF MAINE, STATE POLICE )
OF THE STATE OF MAINE, and   )
JOHN AND/OR JANE DOES, STATE )
POLICE OFFICERS 1-10,        )
                             )
          Defendants.        )


                       ORDER ON MOTION TO DISMISS

      This case arises out of a terrible tragedy that took place in Aroostook and

Penobscot Counties, Maine, in July of 2015, when the former boyfriend of Brittany

Irish entered her house, shot and killed her new boyfriend, shot and grievously

wounded her mother, and abducted her. Ms. Irish, her mother, and the estate of her

deceased boyfriend filed a civil action against the state of Maine, the Maine State

Police, and a number of police officers on the ground that, despite explicit warnings

from Ms. Irish, the police notified her old boyfriend that she had gone to the police to

complain that he had sexually assaulted her and then the Defendants had failed to

protect them from the ensuing harm. Even though the facts in this case are especially

compelling, the Court has concluded that the law does not allow the Plaintiffs’ lawsuit
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to continue against these governmental Defendants and therefore grants the

Defendants’ motion to dismiss.

I.       BACKGROUND

         A.    Procedural History

         On December 10, 2015, Brittany Irish, individually and as personal

representative of the estate of Kyle Hewitt, deceased, and Kimberly Irish (Plaintiffs)

filed a three-count complaint in this Court, bringing a civil rights action against the

state of Maine, the Maine State Police, and ten certain known and unknown state of

Maine police officers (Defendants).            Compl. at 1 (ECF No. 1) (Compl.).                 The

Defendants filed a motion to dismiss the Complaint on February 19, 2016. Defs.’ Mot.

to Dismiss Compl. (ECF No. 4) (Defs.’ Mot.). On February 22, 2016, the Plaintiffs

filed a response to the Defendants’ motion. Pls.’ Opp’n to Defs.’ Mot. to Dismiss [Dkt.

No. 4] (ECF No. 5) (Pls.’ Opp’n). The Defendants filed a reply to the Plaintiffs’

response on February 24, 2016. Defs.’ Reply in Supp. of Mot. to Dismiss Compl. (ECF

No. 6) (Defs.’ Reply).

         B.    Factual Background1

         Brittany Irish met Anthony Lord over four years ago, at which time Mr. Lord

was a registered sex offender. Compl. ¶¶ 9-10. In 2011, for herself and on behalf of

her son, J., Ms. Irish obtained a Protection from Abuse (PFA) order against Mr. Lord;

the PFA lasted two years and expired in 2013. Id. ¶ 11. Also in 2013, Ms. Irish began


1      In considering a motion to dismiss, the Court assumes the truth of the complaint’s well-pleaded
facts and draws all reasonable inferences in the plaintiff’s favor. Schatz v. Republican State
Leadership Comm., 669 F.3d 50, 55 (1st Cir. 2012).


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residing with Kyle Hewitt. Id. ¶ 12. Later in 2013, Ms. Irish reconciled with Mr.

Lord and began living with him in Millinocket, Maine. Id. ¶ 13. In approximately

May, 2013, Ms. Irish and her son resumed living with Mr. Hewitt in Old Town, Maine;

in March, 2014, Ms. Irish’s son, J., Ms. Irish, Mr. Hewitt, and their newborn son, B.,

moved to Bangor, Maine. Id. ¶ 14-15.

      In March, 2015, while separated from Mr. Hewitt, Ms. Irish “reconnected with

Lord and remained in a friendship relationship with Lord for a number of weeks.” Id.

¶ 16. However, by late April or early May, 2015, Mr. Lord began threatening and

harassing Ms. Irish and conveyed to her his desire for the relationship to become

intimate, including using explicit sexual communications. Id. Ms. Irish immediately

contacted the Bangor Police Department, which recommended that she stay away

from and obtain a PFA order against Mr. Lord. Id. ¶ 17. On or about July 6, 2015,

as she “made plans” to obtain a PFA order, Ms. Irish resumed living with Mr. Hewitt.

Id. ¶ 18. On July 14, 2015, Ms. Irish met with Mr. Lord at his request at a local IGA

food store; there, Mr. Lord abducted Ms. Irish and drove her to rural Aroostook

County, Maine, where he repeatedly sexually assaulted her, strangled her with a

seatbelt, and threatened to kill her. Id. ¶ 20. Mr. Lord specifically threatened to kill

her if she reported the sexual assaults. Id. Ms. Irish believed Mr. Lord was sexually

obsessed with her, and Mr. Lord indicated to Ms. Irish he was suicidal. Id. ¶ 21.

      The following day, July 15, 2015, Ms. Irish went to her local hospital and

submitted to a rape kit evaluation. Id. ¶ 22. Later that day, Ms. Irish reported to

the Bangor Police Department that she had been sexually assaulted by Mr. Lord;



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because the abduction and assault occurred in two counties (Penobscot and

Aroostook) the Bangor Police Department referred Ms. Irish to the Maine State

Police. Id. The Maine State Police asked Ms. Irish to drop off a written statement

the next day. Id.

      On July 16, 2015, Mr. Lord asked Ms. Irish to meet with him to “talk about

what had happened.” Id. ¶ 24. Ms. Irish advised the Maine State Police of the

conversation and asked that she meet with Mr. Lord to “elicit a confession from him,”

and that she “could wear a wire or be otherwise monitored,” believing she could “keep

him stable and herself safe.” Id. The Maine State Police refused Ms. Irish’s request,

stating “that’s not the way we do it.” Id. ¶ 25. Instead, the Maine State Police told

Ms. Irish that they were going to call Mr. Lord, tell him that she had alleged that he

sexually assaulted her, and ask Mr. Lord to meet with the Maine State Police “to give

his side of the story.” Id. Ms. Irish told the Maine State Police that “she was afraid

that that would incite Lord to terrible violence and that she would not thereupon be

safe.” Id. ¶ 26. Later that day, unidentified members of the Maine State Police told

Ms. Irish that they had left a voice message for Mr. Lord advising him of her

accusations and “asking him to come to the local State Police barracks.” Id. ¶ 27.

      Approximately two hours later, on July 16, 2015, Ms. Irish learned that her

parents’ barn in Benedicta, Maine was on fire, and Ms. Irish “immediately suspected

that Lord had set the fire.” Id. ¶¶ 28-29. Ms. Irish contacted the Maine State Police

and, with Mr. Hewitt, traveled to her parents’ home in Benedicta. Id. ¶ 30. In

Benedicta later that day, Ms. Irish met with two state troopers. Id. ¶ 31. While she



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was meeting with the state troopers, Ms. Irish received a telephone call from her

brother’s friend. Id. ¶ 32. The friend stated that a friend of Mr. Lord’s had stated

that when Mr. Lord received the voice message from the Maine State Police he

became “immediately incensed and agitated and had indicated that ‘someone was

going to die tonight,’” and had “expressly stated that he was going to kill someone

that night due to the State Police call.” Id. Ms. Irish then asked the state troopers

to assign someone to protect her and her children overnight. Id. ¶ 33. The state

troopers told her that “they could not spare the manpower to protect anyone but

would, rather, ‘keep an eye on the situation.’” Id. Ms. Irish’s mother, Kimberly Irish,

asked the state troopers to park a police car outside of their house overnight because

“she felt that that ruse, at least, would keep Lord away”; the state troopers replied

“that they could not even spare a car.” Id. ¶ 34.

      That evening, on July 16, 2015, “several State Police cars were observed

approximately eleven miles away ‘dumpster diving,’ apparently looking for accelerant

from the Benedicta fire.” Id. ¶ 35. Later that evening, Ms. Irish called the Maine

State Police “to inquire, again, why no State Police officer or car was stationed at the

home when it was obvious that Lord was incensed by the State Police call which he

had received advising him of Brittany Irish’s claim of rape and which had inspired

his death threats.” Id. ¶ 36. Early on the morning of July 17, 2015, while Ms. Irish,

her mother, Kimberly Irish, and Mr. Hewitt were asleep in the Benedicta home, Mr.

Lord entered the house, shot and killed Mr. Hewitt, shot and grievously wounded

Kimberly Irish, and again abducted Brittany Irish. Id. ¶ 37. While driving in his



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vehicle with Ms. Irish as a hostage, Mr. Lord engaged in a shoot-out which left

another individual dead; Mr. Lord was later apprehended. Id. ¶ 38.

         C.     The Complaint

         The Plaintiffs’ Complaint alleges generally that the Defendants are liable

under 42 U.S.C. § 19832 for violating the Plaintiffs’ constitutional rights, including

their substantive due process rights.                Applying United States Supreme Court

precedent,3 the Court finds that 42 U.S.C. § 1983 provides a potential cause of action

for the Plaintiffs’ claims.4

         Count I alleges that the state of Maine, the Maine State Police, and the ten

individual John and/or Jane Doe state of Maine police officers directly violated the

Plaintiffs’ constitutional rights by “refusing and/or failing to provide protection” to

the Plaintiffs and putting them in danger, and alternatively that the Defendants

violated a “special duty” owed to the Plaintiffs because of the Defendants’ “implicit

and/or express promise to protect” the Plaintiffs. Id. ¶¶ 39-44.



2        42 U.S.C. § 1983 states in relevant part:

        [e]very person who, under color of any statute, ordinance, regulation, custom, or usage,
        of any State or Territory or the District of Columbia, subjects, or causes to be subjected,
        any citizen of the United States or other person within the jurisdiction thereof to the
        deprivation of any rights, privileges, or immunities secured by the Constitution and
        laws, shall be liable to the party injured in an action at law, suit in equity, or other
        proper proceeding for redress. . . .
3       The Supreme Court found that “[a] broad construction of § 1983 is compelled by the statutory
language, which speaks of deprivations of ‘any rights, privileges, or immunities secured by the
Constitution and laws.’” Dennis v. Higgins, 498 U.S. 439, 443 (1991) (emphasis in original). Moreover,
the Supreme Court has “given full effect to [the statute’s] broad language, recognizing that § 1983
‘provide[s] a remedy, to be broadly construed, against all forms of official violation of federally
protected rights.’” Id. at 445 (internal citations omitted).
4       Although the Plaintiffs allege that this Court has pendant jurisdiction over state law tort
claims pursuant to 28 U.S.C. § 1367(a), Compl. ¶ 1, the Plaintiffs failed to assert any tort claims in the
Complaint. The Court does not consider the pendant jurisdiction argument over unasserted state
claims.

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      Count II alleges a violation of the Plaintiffs’ substantive constitutional rights

resulted from the failure of some of the John and/or Jane Doe State Police Officer

Defendants to “properly supervise, educate, instruct, train, and/or control” other Doe

Defendants. Id. ¶¶ 45-50.

      Count III alleges that the state of Maine and the Maine State Police are liable,

either vicariously or under a theory of respondeat superior, for the acts of the

individual John and/or Jane Doe Defendants. Id. ¶¶ 51-53.

II.   THE PARTIES’ POSITIONS

      A.     The Defendants’ Motion to Dismiss

      The Defendants contend that the claims against the state of Maine and the

Maine State Police should be dismissed because states and their agencies are not

“persons” within the meaning of 42 U.S.C. § 1983 and thus are not subject to § 1983

liability. Defs.’ Mot. at 5-6 (collecting cases). Moreover, the Defendants argue that

even if the state of Maine and the Maine State Police are “persons” within the

meaning of § 1983, they are protected from suit by the doctrine of sovereign immunity

and by the Eleventh Amendment, as Maine has not consented to this lawsuit and, in

enacting § 1983, Congress has not abrogated the States’ sovereign immunity. Id. at

6.

       Next, citing the Supreme Court’s decision in DeShaney v. Winnebago County,

Department of Social Services, the Defendants argue the Plaintiffs have failed to state

a claim that any police officer is responsible for the harms caused by Mr. Lord, as

generally “a State’s failure to protect an individual against private violence simply



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does not constitute a violation of the Due Process Clause.” Id. at 7 (citing 489 U.S.

189, 197 (1989)). The Defendants also deny that any exceptions to DeShaney apply

to the Plaintiffs. See id. 8-12. Specifically, the Defendants maintain that as alleged,

the facts do not suggest that any officer made any promise to protect the Plaintiffs

from Mr. Lord, and more specifically that “[w]hile officers allegedly told [Ms. Irish]

that they would ‘keep an eye on the situation,’ this was in no way an implicit or

express promise of protection, especially given that the officers allegedly told [Ms.

Irish] expressly that they ‘could not spare the manpower to protect anyone.’” Id. at

8.    Again citing DeShaney, in addition to First Circuit caselaw, the Defendants

contend that even if police officers promised to protect the Plaintiffs,5 there was no

“special duty” placed on the police officers because “[t]he affirmative duty to protect

arises not from the State’s knowledge of the individual’s predicament or from its

expressions of intent to help him,” but only when the state takes a person into its

custody and holds him against his will. Id. at 8-9 (quoting 489 U.S. at 200).

         Additionally, the Defendants submit that none of the unidentified police

officers created or substantially contributed to the danger posed by Mr. Lord, heading

off assertions of a constitutional violation against the police officers’ failure to protect

against private violence under the “state-created danger theory.” Id. at 9. The

Defendants contend this theory applies only if the “state actors have taken

affirmative acts to create or exacerbate the danger posed by third parties,” id. at 10


5        The Defendants note that “[e]ven if telling [Ms. Irish] that they would ‘keep an eye on the
situation’ could be construed as a promise to protect her, plaintiffs do not allege that [Ms. Irish’s]
mother (Kimberly Irish) or Hewitt participated in, or we [sic] even aware of, that conversation,” and
“[t]hus, no promise was made to either of them.” Defs.’ Mot. at 8 n.4.

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(emphasis provided by Defendants), and that the First Circuit case of Rivera v. Rhode

Island, 402 F.3d 27 (1st Cir. 2005), forecloses any liability for the police officers’

affirmative act of calling Mr. Lord and informing him of Ms. Irish’s sexual assault

allegations, as the First Circuit concluded that identifying witnesses and taking their

statements does not impose constitutional liability on the state, even if it enhances

the danger to the witness. Id. at 10-11 (citing Rivera, 402 F.3d at 37).

      The Defendants further argue that in order to be successful on a substantive

due process claim, the First Circuit requires that a state actor’s conduct be “so

egregious as to shock the conscience” and the Plaintiffs have not alleged sufficient

facts to satisfy this element. Id. at 12 (collecting cases). Specifically, they assert that

“it is impossible to see how police engage in conscience-shocking conduct simply by

conducting the routine investigatory step of seeking to interview the alleged

perpetrator of a serious crime.” Id. at 13.

      Furthermore, the Defendants contend that even if the Plaintiffs have stated a

substantive due process claim, the state police officers, as government officials, are

entitled to qualified immunity. Id. The Defendants explain that government officials

“are entitled to qualified immunity unless (1) ‘the facts that a plaintiff has alleged or

shown make out a violation of a constitutional right’ and (2) ‘the right at issue was

‘clearly established’ at the time of their alleged misconduct,’” and note that the

second, “clearly established” prong has two aspects: (1) the “clarity of the law at the

time of the alleged civil rights violation,” and (2) “the facts of the particular case and

whether a reasonable defendant would have understood that his conduct violated the



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plaintiffs’ constitutional rights.” Id. at 14 (citing Walden v. City of Providence, 596

F.3d 38, 52 (1st Cir. 2010)). The Defendants argue that if the Court were to find an

alleged constitutional violation, given that “neither the Supreme Court nor the First

Circuit has ever recognized the state-created danger theory or held that promises of

protection give rise to a constitutional duty,” “the officers could not possibly have had

fair warning [that their actions] were somehow violating plaintiffs’ substantive due

process rights,” particularly because the Defendants could not have understood that

their decisions rose to the level of “conscious-shocking” behavior. Id. at 15.

       As to the supervisory liability claim, the Defendants assert that without a valid

substantive due process claim there can be no vicarious liability, but even if the Court

were to find a constitutional violation and that qualified immunity did not apply, the

Plaintiffs’ claim still must fail because “[i]t is well established that ‘vicarious liability

is inapplicable to . . . § 1983 suits,’” as it must be pleaded “that each Government-

official defendant, through the official’s own individual actions, has violated the

Constitution.”   Id. at 15-16 (citing Ashcroft v. Iqbal, 556 U.S. 662, 676 (2009)).

Moreover, the Defendants argue that the Plaintiffs’ allegations of certain officers’

failure to train and supervise are vague and insufficient to support a supervisor

liability claim. Id. at 17. Lastly, regarding the respondeat superior and vicarious

liability claims, Defendants submit that the state of Maine and the Maine State Police

could not be liable, as neither can be subject to § 1983 claims, and even if they could,

respondeat superior and vicarious liability do not apply under § 1983. Id. at 17.

       B.     The Plaintiffs’ Response



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        The Plaintiffs respond that, whereas a state’s failure to protect an individual

against private violence does not ordinarily constitute a constitutional violation, “that

general principle is not absolute and an affirmative, constitutional duty to protect

arises where the State, as here, creates the danger to an individual,” and “that

general principle may be obviated where a ‘special relationship’ exists between the

parties which requires that the State provide reasonable protection.” Pls.’ Opp’n at

7.

       The Plaintiffs maintain that “when the state enters into a special relationship

with a particular citizen, it may be held liable for failing to protect him or her from

the private actions of third parties,” and they argue “[a]ppellate (and trial) courts

from across the country have found a ‘special relationship’ to exist in circumstances

analogous to those presented here.” Id. at 8-9 (collecting cases).

       Further, the Plaintiffs contend that their Complaint should be allowed to

proceed under the state-created danger doctrine, “which has long recognized a viable

civil rights claim where state actor(s) create a foreseeable, direct danger in willful

disregard of the safety of the plaintiff.” Id. at 9. The Plaintiffs contend that a

relationship existed between Ms. Irish and the state police officers because “by

communicating the rape allegations to the state police, who then communicated same

on to Lord, [Ms. Irish] had abdicated the relative safety of her own controlled

relationship with Lord in favor of the state police,” id. at 11, and that the state police

officers:

       created the peril . . . by contacting Lord over Plaintiff Brittany Irish’s
       objections and advising him of Brittany’s rape allegations thereby

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       investing him with great anger, refusing to allow Brittany to contact
       Lord directly and thereby control his anger, failing to respond to the
       ensuing fire at her parents’ property in close proximity to Brittany (and
       the other Plaintiffs), ignoring Lord’s direct death threat and failing and
       refusing to provide protection, or even the appearance of protection (an
       unoccupied state police cruiser).

Id. at 10.

       As to the conscious-shocking test requirement for substantive due process

claims, Plaintiffs assert the facts alleged in the Complaint “tell a shocking tale.” Id.

at 11. Lastly, in addressing the Defendants’ qualified immunity claim, the Plaintiffs

argue the test outlined by the Defendants is “one of ‘fair warning’ and nothing more,”

that that “[t]o the extent that the constitutionally-protected civil right at issue

involves the ‘failure to protect,’ the parameters of the governing law was long well

settled in the First Circuit . . . as of July 16, 2015.” Id. at 12-13.

       C.     The Defendants’ Reply

       The Defendants contend the Plaintiffs failed to distinguish the most direct

case on point – Rivera v. Rhode Island – which forecloses their arguments that a

promise of protection gives rise to any duty to protect. Defs.’ Reply at 1. In addition,

the Defendants distinguish Wood v. Ostrander, 879 F.2d 583 (9th Cir. 1989) from the

facts here and note the First Circuit in Rivera cited the Ninth Circuit decision for the

proposition that other courts “have recognized the existence of a constitutional

violation when, on particular facts, the state fails to protect against private violence

under this state created danger theory,” id. at 2 (quoting Rivera, 402 F.3d at 35), but

the First Circuit nevertheless held “that promises of protection and the performance

of routine law enforcement activities do not give rise to a state-created danger claim.”

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Id. The Defendants also assert that Rivera demonstrates that the police officer

Defendants are entitled to qualified immunity, as “[a]ny reasonable police officer

reading Rivera would have understood that interviewing an alleged perpetrator does

not violate principles of substantive due process, even when doing so might increase

the risk to the accuser,” and moreover that the Plaintiffs have cited no caselaw from

the United States Supreme Court, the First Circuit, or this Court “that possibly could

have given the [D]efendants ‘fair warning’ that they would violate [Ms. Irish’s]

constitutional rights by seeking to obtain a statement from Lord.” Id. at 2-3.

       Lastly, the Defendants note that in their response to the motion to dismiss, the

Plaintiffs did not address the argument that neither the state of Maine nor the Maine

State Police is subject to § 1983 liability, nor the argument that the Plaintiffs failed

to allege a basis for supervisory or respondeat superior liability, and thus, even if the

Plaintiffs alleged a due process claim, the state of Maine, the Maine State Police, and

any individual supervisory Defendants are still entitled to dismissal. Id. at 3.

III.   LEGAL STANDARD

       A.    Subject Matter Jurisdiction

       The Defendants moved to dismiss pursuant to Rule 12(b)(1) and Rule 12(b)(6)

of the Federal Rules of Civil Procedure. “A motion to dismiss an action under Rule

12(b)(1) . . . raises the fundamental question whether the federal district court has

subject matter jurisdiction over the action before it.” United States v. Lahey Clinic

Hosp., Inc., 399 F.3d 1, 8 n.6 (1st Cir. 2005) (internal citation omitted). “The burden

falls on the plaintiff to clearly allege facts demonstrating that he is a proper party to



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invoke federal jurisdiction.” Dubois v. U.S. Dep’t of Agric., 102 F.3d 1273, 1281 (1st

Cir. 1996) (citation and internal quotation marks omitted). In ruling on a Rule

12(b)(1) motion, the Court “must construe the complaint liberally, treating all well-

pleaded facts as true and indulging all reasonable inferences in favor of the plaintiff.”

Aversa v. United States, 99 F.3d 1200, 1209-10 (1st Cir. 1996).           “If the Court

determines at any time that it lacks subject-matter jurisdiction, the court must

dismiss the action.” FED. R. CIV. P. 12(h)(3).

      B.        Failure to State a Claim

      When evaluating a motion to dismiss under Federal Rule of Civil Procedure

12(b)(6) for failure to state a claim upon which relief can be granted, a court must

determine “whether, construing the well-pleaded facts of the complaint in the light

most favorable to the plaintiffs, the complaint states a claim for which relief can be

granted.” Ocasio–Hernández v. Fortuño–Burset, 640 F.3d 1, 7 (1st Cir. 2011) (citing

FED. R. CIV. P. 12(b)(6)). A court need not assume the truth of conclusory allegations,

and the complaint must state at least a “plausible claim for relief.” Iqbal, 556 U.S.

at 678-79. However, “[n]on-conclusory factual allegations in the complaint must . . .

be treated as true, even if seemingly incredible.” Ocasio–Hernández, 640 F.3d at 12.

A court may not “attempt to forecast a plaintiff's likelihood of success on the merits.”

Id. at 12-13.

      In 2007, the United States Supreme Court issued Twombly, which emphasized

the need for a plaintiff’s complaint to marshal sufficient facts to demonstrate a

“plausible entitlement to relief.” Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 559



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(2007). Two years later, in Iqbal, the United States Supreme Court refined the

dismissal standard:

      To survive a motion to dismiss, a complaint must contain sufficient
      factual matter, accepted as true, to state a claim to relief that is
      plausible on its face. A claim has facial plausibility when the plaintiff
      pleads factual content that allows the court to draw the reasonable
      inference that the defendant is liable for the misconduct alleged.

556 U.S. at 678 (internal quotation marks and citations omitted). The Iqbal Court

suggested that courts, when considering motions to dismiss, could “choose to begin by

identifying pleadings that, because they are no more than conclusions, are not

entitled to the assumption of truth.” Id. at 679. Having isolated “the well-pleaded

factual allegations, a court should assume their veracity and then determine whether

they plausibly give rise to an entitlement to relief.” Id.

      In 2013, the First Circuit described the Twombly and Iqbal decisions as

“watershed cases.” García-Catalán v. United States, 734 F.3d 100, 101 (1st Cir. 2013).

The “plausibility standard,” the First Circuit wrote, has become “the ‘new normal’ in

federal civil practice.” Id. (quoting A.G. v. Elsevier, Inc., 732 F.3d 77, 78-79 (1st Cir.

2013)). The First Circuit explained that “[t]he plausibility inquiry necessitates a two-

step pavane.” Id. at 103 (citing Rodríguez-Reyes v. Molina-Rodríguez, 711 F.3d 49,

53 (1st Cir. 2013)).    “First, the court must distinguish ‘the complaint’s factual

allegations (which must be accepted as true) from its conclusory legal allegations

(which need not be credited).’” Id. (quoting Morales-Cruz v. Univ. of P.R., 676 F.3d

220, 224 (1st Cir. 2012)). “Second, the court must determine whether the factual

allegations are sufficient to support ‘the reasonable inference that the defendant is



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liable for the misconduct alleged.’” Id. (quoting Haley v. City of Boston, 657 F.3d 39,

46 (1st Cir. 2011) (quoting Iqbal, 556 U.S. at 678)).

        Lastly, “[t]o state a claim under § 1983, a plaintiff must allege the violation of

a right secured by the Constitution and laws of the United States, and must show

that the alleged deprivation was committed by a person acting under color of state

law.” West v. Atkins, 487 U.S. 42, 48 (1988). If a § 1983 complaint fails to state a

constitutional claim, it is subject to dismissal under Rule 12(b)(6). Doe v. Metro.

Police Dep’t, 445 F.3d 460, 467 (D.C. Cir. 2006). Moreover, in substantive due process

cases, “the Supreme Court has held that such claims must be carefully scrutinized to

determine if the alleged facts support the conclusion that the state has violated an

individual’s constitutional rights.” Rivera, 402 F.3d at 33 (citing Collins v. City of

Harker Heights, 503 U.S. 115, 125 (1992)).

IV.     DISCUSSION

        A.      Section 1983 Liability

        The Supreme Court held that a state is not a “person” within the meaning of §

1983 and not subject to § 1983 liability.6 Will v. Michigan Dep’t of State Police, 491

U.S. 58, 64 (1989); 42 U.S.C. § 1983 (“Every person who, under color of any statute,



6

        Section 1983 provides a federal forum to remedy many deprivations of civil liberties,
        but it does not provide a federal forum for litigants who seek a remedy against a State
        for alleged deprivations of civil liberties. The Eleventh Amendment bars such suits
        unless the State has waived its immunity, or unless Congress has exercised its
        undoubted power under § 5 of the Fourteenth Amendment to override that immunity.
        That Congress, in passing § 1983, had no intention to disturb the States’ Eleventh
        Amendment immunity and so to alter the federal–state balance in that respect was
        made clear in our decision in [Quern v. Jordan, 440 U.S. 332 (1979)].

Will v. Michigan Dep’t of State Police, 491 U.S. 58, 66 (1989).

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ordinance, regulation, custom, or usage . . . subjects, or causes to be subjected, any

citizen of the United States . . . to the deprivation of any rights, privileges, or

immunities secured by the Constitution and laws, shall be liable to the party injured

in an action at law. . .”) (emphasis added). As the First Circuit explained, “[n]o cause

of action for damages is stated under 42 U.S.C. § 1983 against a state, its agency, or

its officials acting in an official capacity.” Nieves-Márquez v. Puerto Rico, 353 F.3d

108, 124 (1st Cir. 2003) (citing Will, 491 U.S. at 71); Brown v. Newberger, 291 F.3d

89, 92 (1st Cir. 2002) (“The claims under 42 U.S.C. § 1983 fail because a state and its

agencies are not ‘persons’”); Hutchins v. Maine State Hous., No. 1:14-CV-00491-JAW,

2015 WL 2250672, at *6 n.13 (D. Me. May 13, 2015) (“Section 1983 provides a cause

of action against ‘persons’ acting under color of state law. The State of Maine and its

agencies are not persons and cannot be sued under § 1983”); Marcello v. Maine, 464

F. Supp. 2d 38, 44 (D. Me. 2006) (same). The Plaintiffs’ claims against the state of

Maine and the Maine State Police are not cognizable under federal law.

      B.     Sovereign Immunity

      The doctrine of sovereign immunity presents a second rationale for dismissing

the state of Maine and the Maine State Police from this action. The doctrine is

grounded in the Eleventh Amendment to the United States Constitution, which

provides: “[t]he Judicial power of the United States shall not be construed to extend

to any suit in law or equity, commenced or prosecuted against one of the United States

by Citizens of another State, or by Citizens or Subjects of any Foreign State.” U.S.

CONST. amend. XI. In practice, “[t]he Eleventh Amendment bars such suits unless



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the State has waived its immunity, or unless Congress . . . override[s] that immunity.”

Will, 491 U.S. at 66 (internal citation omitted); Seminole Tribe of Florida v. Florida,

517 U.S. 44, 54-55 (1996).    Moreover, sovereign immunity extends to agents and

instrumentalities of the state. Regents of the Univ. of Cal. v. Doe, 519 U.S. 425, 429

(1997).

      The state of Maine “regards the immunity from suit as ‘one of the highest

attributes inherent in the nature of sovereignty,’” Cushing v. Cohen, 420 A.2d 919,

923 (Me. 1980) (quoting Drake v. Smith, 390 A.2d 541, 543 (Me. 1978)), and adheres

to the general rule that “a specific authority conferred by an enactment of the

legislature is requisite if the sovereign is to be taken as having shed the protective

mantle of immunity.” Cushing, 420 A.2d at 923; see also Doyle v. State, No. 2:15-CV-

00078-JAW, 2015 WL 5813312, at *5 (D. Me. Oct. 5, 2015). In the Complaint, the

Plaintiffs have not established, nor attempted to establish, a waiver of immunity

under this standard, and as such the Court concludes, in the absence of specific

authority conferring waiver, the state of Maine has not consented to suit. Because

the state of Maine has not waived its immunity with respect to § 1983 actions, and

because Congress has not overridden that immunity, the Plaintiffs’ claims against

the state must be dismissed. See Maysonet-Robles v. Cabrero, 323 F.3d 43, 54 (1st

Cir. 2003) (“Section 1983, although enacted pursuant to the Fourteenth Amendment,

did not abrogate the immunity of the States because there was insufficient evidence

of Congress’ desire to make States liable under that statute”) (citing Quern v. Jordan,

440 U.S. 332, 345 (1979)). Likewise, because the Maine State Police, as part of the



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state executive branch of government, is an instrumentality of the state of Maine, it

too is cloaked with immunity, and must also be dismissed. See Marcello, 464 F. Supp.

2d at 44.

       C.      Substantive Due Process Claims

       The Due Process Clause of the Fourteenth Amendment provides that “[n]o

State shall . . . deprive any person of life, liberty, or property, without due process of

law.” U.S. CONST. amend. XIV, § 1. In order to establish a substantive due process

claim, the Plaintiffs must first show a deprivation of a protected interest in life,

liberty, or property.      Rivera, 402 F.3d at 33-34; see also Rhode Island Bhd. of

Correctional Officers v. Rhode Island, 357 F.3d 42, 49 (1st Cir. 2004); Macone v. Town

of Wakefield, 277 F.3d 1, 9 (1st Cir. 2002). Second, the Plaintiffs must show that “the

deprivation of this protected right was caused by governmental conduct.” Rivera, 402

F.3d at 34.

       The Supreme Court established that the Due Process Clause of the Fourteenth

Amendment does not require a state to “provide its citizens with particular protective

services” and that “the State cannot be held liable under the Clause for injuries that

could have been averted had it chosen to provide them.” DeShaney, 489 U.S. at 196-

97.   The DeShaney Court concluded that, generally, “a State’s failure to protect an

individual against private violence simply does not constitute a violation of the Due

Process Clause.”7 Id. at 197. However, the Court also acknowledged that “in certain


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       [N]othing in the language of the Due Process Clause itself requires the State to protect
       the life, liberty, and property of its citizens against invasion by private actors. The
       Clause is phrased as a limitation on the State’s power to act, not as a guarantee of

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limited circumstances the Constitution imposes upon the State affirmative duties of

care and protection with respect to particular individuals.” Id. at 198.

       The Defendants argue the circumstances here gave rise to this affirmative duty

to protect. But the DeShaney Court found this duty arises only when “the State takes

a person into its custody and holds him there against his will,”8 and that “[t]he

affirmative duty to protect arises not from the State’s knowledge of the individual’s

predicament or from its expressions of intent to help him, but from the limitation

which it has imposed on his freedom to act on his own behalf.”                  Id. at 199-200; see

also Monahan v. Dorchester Counseling Ctr., Inc., 961 F.2d 987, 991-92 (1st Cir. 1992)

(finding a constitutional duty to protect may exist when an individual is incarcerated

or is involuntarily committed to the custody of the state). In Rivera, relying on

DeShaney, the First Circuit found there is no duty to protect against private harm

when state actors have knowledge of a danger to a person, promise to protect that

person, the person relies on the promise, and the state actors fail to keep the promise,




       certain minimal levels of safety and security. It forbids the State itself to deprive
       individuals of life, liberty, or property without ‘due process of law,’ but its language
       cannot fairly be extended to impose an affirmative obligation on the State to ensure
       that those interests do not come to harm through other means.

DeShaney v. Winnebago Cty. Dep't of Soc. Servs., 489 U.S. 189, 195 (1989).
8

       The rationale for this principle is simple enough: when the State by the affirmative
       exercise of its power so restrains an individual’s liberty that it renders him unable to
       care for himself, and at the same time fails to provide for his basic human needs—e.g.,
       food, clothing, shelter, medical care, and reasonable safety—it transgresses the
       substantive limits on state action set by the Eighth Amendment and the Due Process
       Clause.

DeShaney, 489 U.S. at 200.

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resulting in the person’s death.9 Rivera, 402 F.3d at 37-38; see also Hill-Spotswood

v. Mayhew, No. 1:14-CV-00206-GZS, 2015 WL 403931, at *4 (D. Me. Jan. 29, 2015)

(“Nonfeasance by a state actor, including unfulfilled or unkept promises to protect,

does not deprive an individual of their liberty or ability to act”).

        The holdings in DeShaney and Rivera forestall the Plaintiffs’ argument that

any promises of protection made by state police officers created a “special duty” to

protect. Moreover, the Court notes that the only alleged “promise” made by the state

police officers to the Plaintiffs occurred when the officers told Ms. Irish that “they

could not spare the manpower to protect anyone but would, rather, ‘keep an eye on

the situation.’” Compl. ¶ 33. Regardless of whether the statement made by the state

police officers to Ms. Irish amounts to a promise to protect her, no substantive due

process violation occurred.10

        The Rivera Court recognized that in DeShaney, the Supreme Court suggested

that it is only when the state creates the danger to an individual that an affirmative

duty to protect may arise:

        [w]hile the State may have been aware of the dangers that [the plaintiff]
        faced in the free world, it played no part in their creation, nor did it do
        anything to render him any more vulnerable to them. [By returning the



9       In Rivera, Jennifer Rivera witnessed a murder and twice went to the local police station to
make a statement and identify the murderer. 402 F.3d at 31. Thereafter, Ms. Rivera was continually
threatened with death if she agreed to testify about the murder. Id. The threats were conveyed to the
police department, which repeatedly assured her that she would be safe in order to secure her
testimony. Id. at 31-32. The day before Ms. Rivera was scheduled to testify, she was killed in front of
her house. Id.
10      The Court is doubtful whether, even assuming the facts alleged in the Complaint are true, the
statement by the state police may be fairly construed as a promise of protection, especially given that
the state police also allegedly stated that “they could not even spare a car” to park outside of the house
overnight as a “ruse” to “keep Lord away.” Compl. ¶ 34. If the statement is not such a promise, this
would constitute a separate basis to conclude that the Plaintiffs’ Complaint is subject to dismissal.

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      plaintiff’s child to his abusive father, the State] placed him in no worse
      position than that in which he would have been had it not acted at all.

Rivera, 402 F.3d at 34-35 (quoting DeShaney, 489 U.S. at 201). Other courts have

identified this exception and have determined that in limited situations and under

particular facts, a state actor may be found to have committed a substantive due

process violation where the state actor creates the danger to an individual and fails

to protect that individual from the danger. Hill-Spotswood, 2015 WL 403931, at *3

(citing Rivera, 402 F.3d at 34-35 (at least three circuit courts have recognized a

constitutional violation when the state fails to protect an individual against private

violence under the state created danger theory)); see Kallstrom v. City of Columbus,

136 F.3d 1055, 1066-67 (6th Cir. 1998); Reed v. Gardner, 986 F.2d 1122, 1125-26 (7th

Cir. 1993); Ostrander, 879 F.2d at 589-90.

      The First Circuit has addressed the state-created danger theory but has never

found it applicable to a case before it. See e.g., Rivera, 402 F.3d at 38; J.R. v. Gloria,

593 F.3d 73, 79 n.3 (1st Cir. 2010) (“This case does not involve the state-created

danger theory, which this circuit has never, in any event, found applicable”); Bennett

v. Wainwright, 548 F.3d 155, 163 n.2 (1st Cir. 2008) (“Since the Estate failed to meet

the threshold pleading requirement of identifying the deprivation of a recognized

interest, we need not reach the question of whether this circuit recognizes a state-

created danger theory of liability”); Coyne v. Cronin, 386 F.3d 280, 287 (1st Cir. 2004)

(“[W]e have recognized that the Due Process Clause may be implicated where the

government affirmatively acts to increase the threat to an individual of third-party

private harm or prevents that individual from receiving assistance”); Souza v. Pina,

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53 F.3d 423, 427 (1st Cir. 1995) (finding that actions taken by a prosecutor

implicating plaintiff in murders were not the type of affirmative acts that give rise to

a constitutional duty to protect under the state created danger theory).

        The state-created danger theory applies only if, inter alia, a state actor takes

affirmative acts to create or exacerbate the danger posed by third parties. See Ramos-

Piñero v. Puerto Rico, 453 F.3d 48, 55 n.9 (1st Cir. 2006) (“To the extent plaintiffs

attempt to ground liability in the so-called ‘state-created danger’ theory, the absence

of an affirmative act by the state in creating the danger is fatal to the claim”); Rivera,

402 F.3d at 35; Robbins v. Maine Sch. Admin. Dist. No. 56, 807 F. Supp. 11, 13 (D.

Me. 1992) (“A state may be held liable if it can fairly be said to have affirmatively

acted to create or exacerbate a danger to the victims. Mere nonfeasance has been

held insufficient to constitute the requisite state action”) (citation omitted).

        Ms. Irish alleges that the state police officers affirmatively acted to create or

exacerbate the danger to her when they called Mr. Lord and informed him that she

had alleged that he sexually assaulted her, despite her objections to the officers that

this would “incite Lord to terrible violence and that she would not thereupon be safe.”

Compl. ¶¶ 25-27. Rivera provides guidance here.11 In Rivera, the First Circuit



11       The Plaintiffs cite caselaw from the Third and Tenth Circuit that outlines four- and five-part
tests, respectively, for evaluating state-created danger claims. Pls.’ Opp’n at 9-10, 10 n.2 (citing Kneipp
v. Tedder, 95 F.3d 1199, 1208 (3d Cir. 1996); Mark v. Borough of Hatboro, 51 F.3d 1137, 1152 (3d Cir.
1995); Uhlrig v. Harder, 64 F.3d 567, 574 (10th Cir. 1995)). The First Circuit has cited both Kneipp
and Uhlrig with apparent approval. See Ramos-Piñero v. Puerto Rico, 453 F.3d 48, 54 (1st Cir. 2006);
Enwonwu v. Gonzales, 438 F.3d 22, 30 (1st Cir. 2006). The First Circuit has not, however, formally
adopted these tests. See Rivera, 402 F.3d at 37.
         The four-factor Third Circuit standard for imposing constitutional liability for a state-created
danger requires (1) the harm ultimately caused was foreseeable and direct; (2) the state actor acted in
willful disregard for the safety of the plaintiff; (3) there existed some relationship between the state
and the plaintiff; and (4) the state actors used their authority to create an opportunity that otherwise

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rejected the argument that the defendants’ actions in identifying Ms. Rivera as a

witness and taking her witness statement in the course of investigating a murder –

despite having knowledge of threats against her because of her cooperation as a

witness – compelled her to testify and thus enhanced the danger to her. Rivera, 402

F.3d at 37. The Rivera Court found “[b]oth are necessary law enforcement tools, and

cannot be the basis to impose constitutional liability on the state.” Id. Similarly, the

First Circuit rejected the argument that the defendants increased the risk to Ms.

Rivera by issuing her a subpoena to testify at trial, describing a subpoena as a “vital

prosecutorial tool,” and concluding that “[w]hile requiring [Ms. Rivera’s] testimony

may in fact have increased her risk, issuance of a subpoena did not do so in the sense

of the state created danger doctrine.” Id. Here, it follows that seeking to interview

Mr. Lord, an alleged perpetrator of a sexual assault, was a “necessary law

enforcement tool” and is not a basis to impose constitutional liability on the state

police officers. Indeed, for the police officers not to investigate these accusations

would be a dereliction of their duties as law enforcement.12



would not have existed for the third party’s crime to occur. Kneipp, 95 F.3d at 1208. In Kneipp, the
Third Circuit explained that the relationship element requires that the plaintiff allege a “relationship
between the state and the person injured . . . during which the state places the victim in danger of a
foreseeable injury.” Id. at 1209.
        The Tenth Circuit standard is that the Plaintiff must demonstrate that “(1) [the plaintiff] was
a member of a limited and specifically definable group; (2) Defendants' conduct put [the plaintiff] and
the other members of that group at substantial risk of serious, immediate and proximate harm; (3) the
risk was obvious or known; (4) Defendants acted recklessly in conscious disregard of that risk; and (5)
such conduct, when viewed in total, is conscience shocking.” Uhlrig, 64 F.3d at 574.
        The only allegation that could arguably meet Third and Tenth Circuit requirements is the
voice message to Mr. Lord, but in Rivera the First Circuit exempted the use of “necessary law
enforcement tools”, such as contacting a witness or a potential defendant, from the imposition of
constitutional liability. Id. at 37.
12      Moreover, the Court is not persuaded by the Plaintiffs’ argument that “by communicating the
rape allegations to the state police, who then communicated same on to Lord, [Ms. Irish] had abdicated
the relative safety of her own controlled relationship with Lord in favor of the state police.” Pls.’ Opp’n

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       Moreover, to maintain a substantive due process claim against the Defendants,

the Plaintiffs must allege “conduct . . . so extreme as to ‘shock the conscience.’”

Cummings v. McIntire, 271 F.3d 341, 344 (1st Cir. 2001) (quoting Cty. of Sacramento

v. Lewis, 523 U.S. 833, 846-47 (1998)); Pagán v. Calderón, 448 F.3d 16, 32 (1st Cir.

2006); Berry v. RSU 13 Sch. Bd., No. 2:15-CV-00146-JAW, 2016 WL 742901, at *19

(D. Me. Feb. 24, 2016); Rivera, 402 F.3d at 33-34 (explaining that “it is not enough to

claim the governmental action shocked the conscience” but a plaintiff must also show

a deprivation of a protected interest). The First Circuit observed that this standard

was “deliberately . . . set high to protect the Constitution from demotion to merely a

‘font of tort law.’” McIntire, 271 F.3d at 344 (quoting Lewis, 523 U.S. at 847 n.8, 848).

       In this Court’s view, the facts alleged here fall short of examples of conduct

that the First Circuit and other circuit courts have concluded meet this high

standard. See Marrero-Rodriguez v. Municipality of San Juan, 677 F.3d 497, 502 (1st

Cir. 2012) (finding that a police officer who during a training exercise took out a

firearm, placed it to the unprotected back of an unarmed, face down, motionless, and

under control prone officer, and shot the firearm, resulting in the officer’s death, had

engaged in conduct shocking to the conscience); Neal ex rel. Neal v. Fulton Cty. Bd. of

Educ., 229 F.3d 1069, 1076 (11th Cir. 2000) (student blinded in one eye when teacher


at 11. To argue that Ms. Irish had a “controlled relationship” with Mr. Lord is inconsistent with the
facts alleged by the Plaintiffs: in 2011, Ms. Irish obtained a Protection from Abuse (PFA) order against
Mr. Lord, Compl. ¶ 11, in late April or early May, 2015, Mr. Lord began threatening and harassing
Ms. Irish and conveyed to her his desire for the relationship to become intimate, including using
explicit sexual communications, Compl. ¶16, and on July 14, 2015, Mr. Lord abducted Ms. Irish and
repeatedly sexually assaulted her, strangled her, and threatened to kill her. Compl. ¶ 20. Under the
Twombly plausibility standard, the Court is required to accept the facts alleged by the plaintiff, but
not legal argument in the guise of facts. García-Catalán v. United States, 734 F.3d 100, 103 (1st Cir.
2013).

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intentionally struck him with a metal weight); Morris v. Dearborne, 181 F.3d 657,

668 (5th Cir. 1999) (teacher fabricated sexual abuse charges against a father causing

loss of contact with his child for three years); Rogers v. City of Little Rock, 152 F.3d

790, 797 (8th Cir. 1998) (rape by police officer in connection with a car stop).

Furthermore, as the First Circuit noted in finding that a state actor’s conduct did not

shock the conscience, “[e]ven where the government is aware of specific dangers . . .

it must perform a triage among competing demands.” Ramos-Piñero v. Puerto Rico,

453 F.3d 48, 54 (1st Cir. 2006). The Defendants did not commit conscious shocking

behavior by contacting Mr. Lord about the sexual assault allegations, nor by failing

to affirmatively comply with the Plaintiffs’ requests for protection.

      D.     Qualified Immunity

      “The doctrine of qualified immunity protects government officials ‘from

liability for civil damages insofar as their conduct does not violate clearly established

statutory or constitutional rights of which a reasonable person would have known.’”

Pearson v. Callahan, 555 U.S. 223, 231 (2009) (quoting Harlow v. Fitzgerald, 457 U.S.

800, 818 (1982)); Glik v. Cunniffe, 655 F.3d 78, 81 (1st Cir. 2011) (public officials are

entitled to “qualified immunity from personal liability arising out of actions taken in

the exercise of discretionary functions”).      In determining questions of qualified

immunity, courts must apply the following two prong analysis: “(1) whether the facts

alleged or shown by the plaintiff make out a violation of a constitutional right; and

(2) if so, whether the right was ‘clearly established’ at the time of the defendant’s

alleged violation.” Rocket Learning, Inc. v. Rivera-Sánchez, 715 F.3d 1, 9 (1st Cir.



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2013) (quoting Maldonado v. Fontanes, 568 F.3d 263, 269 (1st Cir. 2009)); Walden v.

City of Providence, 596 F.3d 38, 52 (1st Cir. 2010). The “clearly established” analysis

itself divides into two parts.      Rivera-Sánchez, 715 F.3d at 9.    For a plaintiff to

overcome qualified immunity, “the contours of the right must be sufficiently clear

that a reasonable official would understand that what he is doing violates that right.”

Id. (internal quotations and citations omitted). Next, considering the specific facts of

the case at bar, it must have been “clear to a reasonable [official] that his conduct was

unlawful in the situation he confronted.” Id. (alteration in original).

      This Court has already determined that the Plaintiffs failed to make a

substantive due process claim against the state police officers, and thus under the

test outlined in Rivera-Sanchez, the Defendants are entitled to qualified immunity.

715 F.3d at 9. Moreover, any reasonable state police officer reading Rivera would

determine that contacting and interviewing a person accused of sexual assault would

not violate the accuser’s substantive due process rights, even if doing so could

increase the risk to the accuser.

      E.     Supervisory Liability Claims

      Because the Plaintiffs failed to state a substantive due process claim, their

claims in Count II of the Complaint against any unnamed state police officer for

supervisory liability and for failure to train fail. See Rivera, 402 F.3d at 38-39; see

also City of Canton v. Harris, 489 U.S. 378, 391 (1989) (holding that the city’s

constitutional liability for failure to train or for inadequately training its employees

is premised on there being an underlying constitutional violation of the harmed



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individual’s rights); Maldonado-Denis v. Castillo-Rodriguez, 23 F.3d 576, 581–82 (1st

Cir. 1994) (explaining that to establish supervisory liability, the plaintiff must show

an underlying constitutional violation); Hill-Spotswood, 2015 WL 403931, at *5

(“Because Plaintiff has failed to state a constitutional claim . . . her claim for

supervisory liability based on that underlying constitutional claim also fails”).

      F.      Respondeat Superior and Vicarious Liability

      In Count III, the Plaintiffs allege that the state of Maine and the Maine State

Police “are liable as principals for all violations of civil rights, torts or other wrongs

committed by their respective agents and/or employees.” Compl. ¶ 53. However, as

discussed, the state of Maine and the Maine State Police are protected from suit

under sovereign immunity, nor are they subject to § 1983 liability. See supra Sections

IV.A.-B. Moreover, vicarious and respondeat superior liability do not apply to Section

1983 claims. Iqbal, 556 U.S. at 676 (“[V]icarious liability is inapplicable to . . . § 1983

suits”); Monell v. Dep't of Soc. Servs. of City of New York, 436 U.S. 658, 691 (1978)

(“[A] municipality cannot be held liable under Section 1983 on a respondeat superior

theory”).

V.    CONCLUSION

      The Court GRANTS the Defendants’ Motion to Dismiss (ECF No. 4).

      SO ORDERED.


                                          /s/ John A. Woodcock, Jr.
                                          JOHN A. WOODCOCK, JR.
                                          UNITED STATES DISTRICT JUDGE

Dated this 12th day of September, 2016

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